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                                         FINAL LIST OF PROPOSED EXHIBITS


CASE NO._22-cr-00012-WJM______      PLAINTIFF’S LIST: ☐       DEFENDANT’S LIST: ☒            THIRD PTY DEFTS. LIST: ☐

CASE CAPTION _U.S. v. Rudolph, et al.___ DATE _Aug. 18, 2023____________

LIST PLAINTIFF’S EXHIBITS BY NUMBERS (1, 2, 3, etc.) and DEFENDANT’S BY LETTER (A, B, C, etc.)


  Ex. No.     Witness           Descr.            Authen.   Stip.       Offer        Rec’d          Comments/Info

 A                      Ameritas Oct. 12,
                        2022 Letter
                        DE 330-3
 B                      Ameritas Assignment
                        and Release
                        Agreement
                        Fidelity Assignment
 C                      and Release
                        Agreement
 D                      Genworth Nov. 9,
                        2022 Letter
 E                      Great West
                        Assignment
                        Agreement
 F                      Blank for now
 G                      Blank for now
 H          Tyson       BNYM $2.5 million
            Polski      Note on 7000 N. 39th
                        Place, Paradise Valley,
                        AZ 85253
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    Ex. No.     Witness           Descr.          Authen.   Stip.       Offer        Rec’d        Comments/Info
                          DE 386-1
I             Tyson       BNYM 7/1/2023
              Polski      Invoice
                          DE 386-2
J             Tyson       WF x2446
              Polski      Account Record
                          WFB_00004029
K                         AnaBianca Rudolph
                          and Julian Rudolph v.
                          Lawrence Rudolph,
                          CV2023-006718
                          Default Judgment
L                         Morgan Stanley
                          Statements, July 31,
                          2023
M                         Western Sales
                          Management, 7/25/23,
                          $67,305.00
N                         GX 48 with current
                          values
O                         GX 49 with current
                          values
P                         2022 & 2023 AZ and
                          PA Expenses
Q                         Julian Rudolph
                          Declaration
R                         TRDG Cash Balances
S                         Current Complaints
                          against TRDG
